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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN


J.K.J.,

                 Plaintiff,

          v.
                                                           Case No. 15-CV-428
POLK COUNTY and DARRYL L.
CHRISTENSEN,

                 Defendants.


M.J.J.,

                 Plaintiff,

v.                                                         Case No. 15-CV-433

POLK COUNTY and DARRYL L.
CHRISTENSEN,

                 Defendants.

                              POLK COUNTY’S NOTICE OF APPEAL


          Notice is hereby given that defendant Polk County hereby appeals to the United States

Court of Appeals for the Seventh Circuit from the final judgment entered in consolidated Case

No. 15-CV-428 on February 6, 2018 (ECF No. 280) and Case No. 15-CV-433 on February 6,

2018 (ECF No. 281).




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         Dated this 2nd day of March, 2018.

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